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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PAUL MOLTER, : CIVIL ACTION- LAW
Plaintiff '
VS.
UNITED STATES OF AMERICA,
Defendant : NO.
CQMBLALNI

NOW COMES Plaintiff, Paul Molter, by and through his attorneys,
Dougherty, Leventhal & Price, L.L.P. to file a Complaint against the Defendant as
follows:

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l. This matter involves a medical malpractice claim for personal injuries
and expected death against the United States of Arnerica pursuant to the Federai
Tort Claims Act (FTCA), 28 U.S.C. §1346(b).

2. Jurisdiction is based on 28 U.S.C. §1331 (Federal Question), 42
U.S.C. §1346 et seq. (FTCA Litigation) and 28 U.S.C. §1367 (Supplemental
Jurisdiction).

3. Venue is proper in this Court because the acts and omissions that form

the subject matter of this action occurred in this judicial district. (See 28 U.S.C.

1391(b)).

 

 

 

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II. THE PARTIE§

4. Plaintiff Paul Molter is an adult, competent individual Who currently
resides at 612 E. Market Street, Scranton, PA 18509.

5. Defendant the United States of America is a sovereign nation
comprised of 50 states and several territories

6. At all times relevant hereto, Defendant owned, operated and had
under its exclusive control a hospital and medical treatment facility known as the
Wilkes-Barre VA Medical Center located at 1111 East End Boulevard, Wilkes-
Barre, PA18711.
III. _ ENERAL E ATI NS

7. Prior to the initiation of this lawsuit, on November 6, 2014, the
Plaintiff presented an administrative claim for damages against the Defendant as a
result of injuries he suffered as a result of negligent and careless medical care and
treatment he received as a patient of the Wilkes-Barre YA Medical Center.

8. On May 20, 2015, Defendant issued a letter denying Plaintiff's
administrative claim.

9. At all times relevant hereto, Plaintiff was under the exclusive medical
care, treatment and attendance of the physicians, staff and personnel at the Wilkes-

Barre VA Medical Center, directly and/or through its agents, ostensible agents,

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servants, workmen and/or employees, all of whom the Wilkes-Barre VA Medical
Center had under its’ direct control and supervision, and/or had the right to
control/supervise

lO. At all times relevant hereto, the Wilkes-Barre VA Medical Center was
responsible for the negligent acts and omissions of its agents, ostensible agents,
servants, workmen and/or employees.

ll. At all times relevant hereto, as the owner, operator and entity in
control of the Wilkes-Barre VA Medical Center and pursuant to 22 U.S.C. 2702 (a)
and 28 U.S.C. 1346 (b), 28 U.S.C. 2671, 28 U.S.C. 2674 and 28 U.S.C. 2679(a),
the Defendant was responsible and liable for the negligence of the Wilkes-Barre
VA Medical Center and its agents, ostensible agents, servants, Workmen and/or
employees

12. At all times relevant hereto, Dr. Atul Dalsania, Dr. Ami Shah, Dr.
Arnber Batool, Dr. Raulie D. Rodrigo, Dr. Thomas Delahanty, Dr. Aamir Zaman
and other unknown medical care providers, in providing medical care to the
Plaintiff, acted as agents, ostensible agents, servants, workmen and/or employees
of the Wilkes-Barre VA Medica] Center, and they were acting within the course

and scope of their employment at all such times.

 

 

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13. Plaintiff is a long-time patient at the Wilkes-Barre VA Medical
Center. In this regard, at all times relevant hereto, the Wilkes-Barre VA Medical
Center had detailed documentation and information regarding Plaintiff's prior
medical history.

14. At all times relevant hereto, Dr. Dalsania was Plaintiff’s primary care
physician at the Wilkes-Barre VA Medical Center

15. On or about August 8, 2011, based on results of a CT Scan of his
chest, Plaintiff’s treating physicians at the Wilkes-Barre VA Medical Center,
including Dr. Dalsania, advised him that he had a small nodule in the upper lobe of
his right lung and that they would monitor this condition to make sure that it
remained stable.

16. CT scans of Plaintiff’s chest performed on November 26, 2012 and
November 29, 2012, revealed a 5-6 mm right upper lobe nodule. However, Dr.
Rodrigo, the interpreting radiologist, failed to identify these findings in his
imaging reports.

17. On or about March 13, 2013, in an effort to continue monitoring the

upper lobe nodule previously detected in his right lung, according to the radiology

report, Dr. Batool ordered a CT Scan of Plaintiff’ s chest,

 

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18. Dr. Shah, a radiologist, interpreted the March 13, 2013 CT Scan and
noted in the Impression section of her report as follows:
Increase in size of lung nodules in the right upper lobe. Would
recommend FDG PET CT to characterize Possibly superimposed
infection however malignancy is not excluded
19. Dr. Shah’s March 13, 2013 CT Scan report further indicated that the
right upper lobe nodule had increased in size to 8 mm as compared to 3 mm on the
CT scan of November 29, 2012, and it further noted in all caps:
PossIBLE MALiGNANcY, FoLLow-UP REQUIRED
20. Dr. Shah’s March 13, 2013 CT Scan report does not indicate that the
results or a copy thereof was ever provided to Plaintiff’s treating physician(s)
and/or the requesting physician Dr. Batool.

21. Based on their knowledge of Plaintiff’s prior medical history

 

including the existence of a right upper lobe noduie, Plaintiff’ s treating physicians
should have followed up with Dr. Shah to obtain the results of the March 13, 2013
CT Scan of his chest.

22. Neither Dr. Shah, any of Plaintifi’s treating physicians, and/or the
requesting physician advised the Plaintiff of the findings detected on the March 13,

2013 CT Scan of his chest.

 

 

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23. The March 13, 2013 CT Scan revealed that Plaintiif had a cancerous
lung mass in his right upper lobe.

24. Following the March 13, 2013 CT Scan, none of Plaintiff’s treating
physicians recommended any treatment or ordered any further testing to treat
Plaintift‘s then existing lung cancer.

25. Following the March 13, 2013 CT Scan, Plaintist treating physicians
should have ordered a chest CT PET Scan, a biopsy of the lung mass or a right
upper lobectomy to properly assess necessary and required care and treatment for
the Plaintist then existing lung cancer.

26. Although Plaintiff had subsequent evaluations by his treating
physicians, no follow-up testing or treatment was ordered or performed regarding
Plaintiff’s lung cancer until more than fifteen (15) months later when Dr. Dalsania
finally ordered a FDG PET CT Scan on July 2, 2014.

27. The July 2, 2014 FDG PET CT scan revealed that the size of the right
upper lobe nodule had increased in size to 17 mm, and a bulky mediastinal
adenopathy and the nodule were both hypermetabolic, evidencing malignancy.

28. On or about July 25, 2014, Dr. Delahanty ordered a percutaneous
needle biopsy of Plaintift’ s right upper lung mass. This study was performed at

Wilkes»Barre General Hospital and it revealed small cell lung cancer.

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29. Plaintiff subsequently underwent radiation and chemotherapy
treatment for his cancer.

30. On or about March 30, 2015, Dr. Delahanty ordered a percutaneous
needle biopsy of a mass that had developed on Plaintiff’s right scapula. This study
was performed at Wilkes-Barre General Hospital and it revealed that the Plaintiff's
small cell lung cancer was metastatic to bone.

31. Plaintiff’s treating oncologist Dr. Zaman has advised him that the
cancer treatments that he received were not successful in stopping the spread of the
disease and that no further treatment is available.

32. Plaintiff’s treating oncologist Dr. Zaman has advised him that his
cancer is now terminal.

33. Plaintiff’s treating physicians and medical staff at the Wilkes-Barre
VA Medical Center were negligent and careless in failing to promptly diagnose his
lung cancer and in failing to recognize the significance of the findings on the
March 13, 2013 CT Scan, resulting in their failure to promptly order further
required testing and to provide prompt, necessary and proper care and treatment to
the Plaintiff.

34. The Wilkes-Barre VA Medical Center’s negligence and carelessness

in failing to promptly diagnose his lung cancer and in failing to provide necessary,

 

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required and prompt care and treatment has directly caused serious and permanent
injuries to the Plaintiff, including an increase in his risk of harm and death.

35. The Wilkes-Barre VA Medical Center lacked proper policies and
procedures to ensure that Plaintiff’ s condition would be properly monitored and
diagnosed to ensure that he would receive proper and necessary medical care,
testing and treatment, and the Center knew or should of known of the deficiencies
in said policies and procedures

36. The carelessness and negligence of the Wilkes-Barre VA Medical
Center, individually and by and through its employees, servants, agents, ostensible
agents and/or workmen, including but not limited Dr. Dalsania, Dr. Shah, Dr.
Batool, includes the following:

a. Failing to conform to the requisite standard of reasonable
medical care and skill under the circumstances;

b. Failure to possess the degree of care, knowledge and skill
ordinarily exercised in similar cases by other physicians and
medical care providers;

c. Failure to exercise the degree of care, knowledge and skill

required under the circumstances;

 

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Failing to provide and render reasonable, proper and required
medical care and treatment to Plaintiff under the circumstances,
including further diagnostic testing;

Failing to properly select, train, and supervise their agents,
servants, workmen and/or employees to assure Plaintiff’s
receipt of reasonable medical care and treatment under the
circumstances;

Failing to promptly detect and properly diagnose Plaintiff’s
lung cancer in March 2013 following a CT Scan of his chest;
Failing to properly read, interpret and report the results of the
March 13, 2013 CT Scan of Plaintiff’ s chest;

Failure to exercise reasonable care in the diagnosis and
treatment of the Plaintiff's condition for which prompt
diagnosis and treatment were critical for effective medical
treatment;

Failure to communicate to Plaintiff’s treating physicians the

results of the March 13, 2013 CT Scan of his chest;

 

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Failure to promptly refer the Plaintiff to the necessary medical
specialists to promptly diagnose and treat his condition
following the March 13, 2013 CT Scan of his chest;

Failure to communicate to the Plaintiff the results of the March
13, 2013 CT Scan of his chest and the cancer detected thereby;
Failure to follow-up with the radiologist who performed the
March 13, 2013 CT Scan of Plaintiff’s chest for the results of
said study;

Failure to appreciate the risk of failing to promptly follow-up -
with the radiologist who performed the March 13, 2013 CT
Scan of Plaintiff' s chest to obtain the results thereof;

Failing to appreciate the risk of failing to promptly order
required follow-up tests and to provide prompt, proper medical
care and treatment following the March 13, 2013 CT Scan of
Plaintifi’s chest;

Failing to properly direct, train and supervise the physicians,
radiologists and medical staff who were treating Plaintiff;

F ailing to properly monitor the right upper lobe nodule detected

on a CT Scan of Plaintiff’s chest on August 8, 2011.

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q. Failing to keep apprised and be aware of Plaintiff's medical
condition;

r. Failing to order regular, periodic testing to properly monitor
Plaintiff s right upper lobe nodule;

s. Delaying ordering any further testing and medical treatment for
Plaintiff' s right upper lobe nodule for almost fifteen (15)
months after the March 13, 2013 CT Scan of Plaintift’s chest
revealed cancer;

t. Failing to appreciate the significance and danger of not properly
monitoring Plaintiff’s right upper lobe nodule;

u. Failing to take all appropriate, necessary and required action so
as to not to increase the risk of injury/harm and death to the
Plaintiff;

v. Failing to adhere to the Center’s practices, policies and
procedures so as to ensure that Plaintiff would be cared for and
treated properly, and his condition monitored appropriately;

w. Failing to comply with the accepted standard of care, including
inter alia, failing to promptly diagnose Plaintiff's cancer and

failing to promptly order further required testing and treatment

 

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37.

so as to prevent and/or decrease the risk of injury/harm and
death to the Plaintiff;

Failing to adopt and implement practices, policies and
procedures so as to ensure that the Plaintiff would be cared for
properiy, and that his condition would be appropriately
diagnosed, treated and/or monitored;

Breaching the requisite standard of reasonable medical care by
failing to promptly diagnose Plaintiff's cancer and failing to
promptly order further required testing and treatment so as to
prevent and/or decrease the risk of injury/harm and death to the
Plaintiff;

being otherwise negligent and careless as may be demonstrated

at trial or determined through discovery.

As a direct result of the negligent and careless acts of the Wilkes-

Barre VA Medical Center, individually and by and through its employees, servants,

agents, ostensible agents and/or workmen, including but not limited Dr. Dalsania,

Dr. Shah, Dr. Batool, and/or other unknown medical staff acting under their

direction, control and supervision within the course and scope of their

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employment, Plaintiff suffered serious and permanent injuries, including an
increased risk of injury/harm and death, to his great detriment and loss.

38. As a direct result of the negligent and careless acts of the Wilkes-
Barre VA Medical Center, individually and by and through its employees, servants,
agents, ostensible agents and/or workmen, including but not limited Dr. Dalsania,
Dr. Shah, Dr. Batool, and/or other unknown medical staff acting under their
direction, control and supervision within the course and scope of their
employment, Plaintiff has experienced a loss of the pleasures of life, an
interruption in his lifestyle, embarrassment, humiliation, discomfort,
inconvenience, distress, dcpression, great physical pain and mental anguish, and he
will continue to endure the same for an indefinite time in the niture, to his great
detriment and loss.

39. As a direct result of the negligent and careless acts of the Wilkes-
Barre VA Medical Center, individually and by and through its employees, servants,
agents, ostensible agents and/or workmen, including but not limited Dr. Dalsania,
Dr. Shah, Dr. Batool, and/or other unknown medical staff acting under their

direction, control and supervision within the course and scope of their

employment, Plaintiff has been unable to attend to and perform his usual and daily

 

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duties, avocations, and labors, and will continue to be so disabled for an indefinite
time in the future, to his great detriment and loss.

40. As a direct result of the negligent and careless acts of the Wilkes-
Barre VA Medical Center, individually and by and through its employees, servants,
agents, ostensible agents and/or workmen, including but not limited Dr. Dalsania,
Dr. Shah, Dr. Batool, and/or other unknown medical staff acting under their
direction, control and supervision within the course and scope of their
employment, Plaintiff has incurred expenses to treat his medical condition and
upon information and belief, he will continue to incur medical expenses to treat his
condition for an indefinite time in the future, to his great detriment and loss.

WI-[EREFORE, Plaintiff demands judgment against the Defendant in an
amount in excess of $75,000.00, plus interest and costs.

Respectfully submitted

DOUGHERTY, LEVENTHAL & PRICE, L.L.P.

/s/ loseph G. Price
Joseph G. Price, Esquire

ID# 32309
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/s/ Jghn P. Finnertv
JOHN P. FINNERTY

ID# 78027

 

Date: November 17, 2015 Attomeys forPlaintiff

 

